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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 BANCO SAN JUAN                                  §
 INTERNACIONAL, INC.,                            §
                                                 §
        Plaintiff,                               §
                                                 §
        v.                                       §
                                                 §     Case No. 1:23-cv-01263
 PETRÓLEOS DE VENEZUELA, S.A.                    §
 and PDVSA PETRÓLEO, S.A.,                       §
                                                 §
        Defendants.                              §


        PLAINTIFF BANCO SAN JUAN INTERNACIONAL, INC.’S NOTICE OF
                   STATUS UPDATE AND NEW AUTHORITY

       Plaintiff Banco San Juan Internacional, Inc. (“BSJI”) respectfully provides this notice to

apprise the Court of (1) recent developments in the Delaware action, Crystallex International

Corp. v. Bolivarian Republic of Venezuela, Case No. 1:17-mc-151-LPS (D. Del.), and

Department of Treasury, Office of Foreign Asset Control’s (“OFAC”) license pertaining to

Venezuela’s energy industry; and (2) new authority issued by the United States Court of Appeals

for the District of Columbia Circuit in December 2023 relevant to Defendants Petróleos De

Venezuela, S.A.’s (“PDVSA”) and PDVSA Petróleo, S.A.’s (together, the “Defendants”) Motion

to Dismiss pending before this Court.

       Recent Developments. As previously explained in BSJI’s Notice of October 13, 2023,

Judge Leonard P. Stark issued a Memorandum Order last October in Crystallex concerning the

ongoing sale of PDVSA’s only known assets in the United States. ECF No. 61 (citing Crystallex

Int’l Corp., 2023 WL 6619376 (D. Del. Oct. 11, 2023)). That Order required PDVSA’s creditors,

like BSJI, to obtain a writ of attachment fieri facias in the District of Delaware by January 12,

2024 in order to participate in and obtain proceeds from the sale. Id. As that deadline has now
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passed without BSJI obtaining the writ, the Special Master appointed by Judge Stark to manage

the sale of PDVSA’s assets has indicated that BSJI is to be excluded from the sale process. See

Letter from Special Master to Judge Stark, No. 1:17-mc-151-LPS (D. Del. Jan. 19, 2024), ECF

Nos. 870 and 870-1. This means that BSJI likely will not be able to obtain any proceeds from the

sale of PDVSA’s assets in Delaware to satisfy its over $100 million judgment against the

Defendants.

       There remains some hope that BSJI could be paid through recognition and enforcement

of the U.K. Judgments in the United States. On October 18, 2023, OFAC issued a temporary

license easing energy sanctions on Venezuela. Venezuela Sanctions Regulations, 31 C.F.R.

§ 591, General License No. 44. This measure may allow BSJI to enforce the U.K. Judgments in

jurisdictions other than Delaware, but only after this Court recognizes the U.K. Judgments.

OFAC’s license is valid until April 18, 2024, id. at (a), which provides a short window of

opportunity for BSJI to finally get paid what it has been owed for years.

       New Authority. The D.C. Circuit issued its Opinion in Valores Mudiales, S.L. v.

Bolivarian Republic of Venezuela in December 2023. 87 F. 4th 510 (D.C. Cir. 2023). That

decision addressed, among other things, Venezuela’s objection that “enforcement of the ICSID

awards against Venezuela would contravene the President’s Recognition authority under Article

II of the Constitution,” id. at 521, which is similar to Defendants’ argument in this case that

recognizing and enforcing the U.K. Judgments in favor of BSJI “would be repugnant to U.S.

public policy, specifically the United States’ decision to recognize only the Interim Government

as the legitimate government of Venezuela.” ECF No. 53-1 at 19-20.1



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 Defendants’ counsel in this case advanced the recognition argument on Venezuela’s behalf in
Valores. See Valores, 87 F. 4th at 513 (listing Joseph D. Pizzurro and Juan O. Perla as
Venezuela’s counsel).
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       The D.C. Circuit rejected Venezuela’s recognition argument, finding that “[t]his

argument is clearly a non sequitur” and holding that enforcing arbitral awards against Venezuela

“is not equivalent to recognition of the Maduro regime.” 87 F. 4th at 521 (emphasis added). The

Court found that enforcement does not “imply a denial of the President’s recognition of the

Guaidó government” and “cannot seriously be seen as an attempt by this court to ‘aggrandiz[e]

its power at the expense of another branch.’” Id. at 522 (citation omitted). The Court thus upheld

the District Court’s decision to enforce the awards, finding that “[e]nforcement, not its opposite,

is what the separation of powers requires.” Id. at 523.

       BSJI’s notice of the D.C. Circuit’s decision is respectfully submitted only to ensure that

the Court is apprised of this new authority, and not for the sake of advancing any new argument.

       As always, we remain available to address the Court on this or any other matter.




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